

Shane v Rosenwaks (2023 NY Slip Op 05236)





Shane v Rosenwaks


2023 NY Slip Op 05236


Decided on October 17, 2023


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: October 17, 2023

Before: Webber, J.P., Oing, Gesmer, Rodriguez, Rosado, JJ. 


Index No. 152545/19 Appeal No. 804 Case No. 2022-03572 

[*1]Barri Shane, Plaintiff-Appellant,
vStacy Rosenwaks et al., Defendants-Respondents.


Rivkah Rothschild, New York (Rivkah Rothschild of counsel) and Greenberg Traurig, Boston, MA (Gary Greenberg of counsel), for appellant.
The Law Offices of Alan S. Futerfas, New York (Alan S. Futerfas and Ellen B. Resnick of counsel), for respondents.



Order, Supreme Court, New York County (Verna L. Saunders, J.), entered August 4, 2022, which denied plaintiff's motion for leave to renew defendants' motion to dismiss the amended complaint, unanimously affirmed, with costs.
We decline to dismiss the appeal under the circumstances. Nevertheless, we find that the court properly denied plaintiff's motion for leave to renew defendants' motion to dismiss the amended complaint (see  CPLR 2221[e]). The purported "new facts" proffered by plaintiff, set forth in unsworn documents, would have no bearing on the court's consideration of the motion to dismiss because they concerned events that postdated the amended complaint, and plaintiff never sought leave to amend the pleadings (see  CPLR 3025[b]).
We perceive no basis to grant defendants' request to enjoin plaintiff from
engaging in further pro se litigation related to the present claims without prior court approval at this time.THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: October 17, 2023








